Case 2:04-cr-20388-SH|\/| Document 67 Filed 04/21/05 Page 1 of 2 Page|D 90

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IN THE uNITED s'rATEs DIsTRIc-r coURT g
FoR THE wEsTERN DISTRICT oF TENNESSEE 95 f.;{;,>;_ ;_§ §
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UNITED STATES OF AMERICA,
Plaintiff,
vs.

CR. NO. 04»20388-Ma

HAROLD L. YANCY,
JERRY B. RODGERS,

Defendants.

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ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

 

This cause came on for a report date on March 25, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial date to
the rotation docket beginning May 2, 2005 at 9:30 a.m., with a
report date of Thursday, April 2l, 2005 at 2:00 p.m.

The period. fron\ March. 25, 2005 through. May l3, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare

outweigh the need for a speedy trial.

IT IS SO ORDERED this z* ` day of April, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

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Honorable Samuel Mays
US DISTRICT COURT

